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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     ) Magistrate Case No. 1:21-mj-00036-JCN
                                              )
DAVID PHILLIPS                                )



                                MOTION FOR DETENTION

       The United States moves for pretrial detention of the defendant, pursuant to 18 U.S.C.

' 3142.

       1. Eligibility of Case. This case is eligible for a detention order because the case

involves:

                      Conditions requiring a temporary detention order (18 U.S.C. ' 3142(d))

                      Crime of violence

                      Maximum sentence life imprisonment or death

            __        10+ year drug offense

                      Felony, with two prior convictions in above categories

       _____          Felony involving minor victim

       ___X___        Felony involving use/possession of firearm/destructive device

       _______        Failure to register as a sex offender

            X __      Serious risk defendant will flee

                      Serious risk obstruction of justice

       2. Reasons for Detention.

       (i) Temporary Detention.
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        (ii) Other than Temporary Detention. The court should detain the defendant because

there are no conditions of release which will reasonably assure:

                 X        Defendant's appearance as required

                 X        Safety of any other person and the community

        3. Date of Detention Hearing. The United States requests that the detention hearing be

 held after a continuance of three days.

        4. Length of Detention Hearing. The United States will require a half hour to present

its case for detention.

Date: February 11, 2021                                        Respectfully submitted,

                                                               HALSEY B. FRANK
                                                               United States Attorney

                                                               BY:/s/ ANDREW MCCORMACK
                                                               ANDREW McCORMACK
                                                               Assistant United States Attorney
